               Case 1-21-40870-jmm                         Doc 20-3            Filed 07/01/21              Entered 07/01/21 09:38:12


B1040 (FORM 1040) (12/15)

        ADVERSARY PROCEEDING COVER SHEET                                                             ADVERSARY PROCEEDING NUMBER
                               (Instructions on Reverse)                                             (Court Use Only)


 PLAINTIFF                                                                          DEFENDANT
 American Express National Bank                                                     Yekaterina Tumayeva
 c/o Becket & Lee LLP                                                               125 Oceana Dr E Apt 3C
 P.O. Box 3001, Malvern, PA 19355                                                   Brooklyn, NY 11235-6692
 ATTORNEYS (Firm Name, Address, and Telephone No.)                                  ATTORNEYS (If Known)
 Paul J. Hooten, Esquire (PJH9510)                                                  Alla Kachan, Esquire
 PAUL J. HOOTEN & ASSOCIATES                                                        LAW OFFICES OF ALLA KACHAN
 5505 Nesconset Highway, Suite 203                                                  2799 Coney Island Ave Ste 202
 Mt. Sinai, NY 11766                                                                Brooklyn, NY 11235-2089
 Telephone: (631) 331-0547                                                          Telephone: (718) 513-3145
 PARTY (Check One Box Only)                                                         PARTY (Check One Box Only)
   Debtor                 U.S. Trustee/Bankruptcy Admin                             X Debtor                    U.S. Trustee/Bankruptcy Admin
 X Creditor               Other                   Creditor                                                      Other
   Trustee                                        Trustee
 CAUSE OF ACTION (WRITE A BRIEF STATEMENT OF CAUSE OF ACTION, INCLUDING ALL U.S. STATUTES INVOLVED)
                 COMPLAINT TO DETERMINE DISCHARGEABILITY OF DEBT PURSUANT TO 11. U.S.C. § 523


                                                                        NATURE OF SUIT
                 (Number up to five (5) boxes starting with lead causes of action as 1, first alternative cause as 2, second alternative causes as 3, etc.)

    FRBP 7001(1) – Recovery of Money/Property                                            FRBP 7001(6) – Dischargeability (continued)
    11-Recovery of money/property - §542 turnover of property                           61-Dischargeability-§523(a)(5), domestic support
    12-Recovery of money/property - §547 preference                                     68-Dischargeability-§523(a)(6), willful and malicious injury
    13-Recovery of money/property - §548 fraudulent transfer                            63-Dischargeability - §523(a)(8), student loan
    14-Recovery of money/property – other                                               64-Dischargeability - §523(a)(15), divorce or separation obligation
                                                                                           (other than domestic support)
                                                                                        65-Dischargeability – other
 FRBP 7001(2) – Validity, Priority or Extent of Lien
     21 – Validity, priority or extent of lien or other interest in property               FRBP 7001(7) – Injunctive Relief

 FRBP 7001(3) – Approval of Sale of Property                                                71- Injunctive relief – imposition of stay
     31- Approval of sale of property of estate and of a co-owner - §363(h)                 72- Injunctive relief – other

 FRBP 7001(4) – Objection/Revocation of Discharge                                          FRBP 7001(8) Subordination of Claim or Interest
     41 – Objection / revocation of discharge - §727(c),(d),(e)                              81- Subordination of claim or interest

 FRBP 7001(5) – Revocation of Confirmation                                                 FRBP 7001(9) Declaratory Judgment

     51 – Revocation of confirmation                                                         91- Declaratory Judgment

 FRBP 7001(6) – Dischargeability                                                           FRBP 7001(10) Determination of Removed Action
 x 66-Dischargeabiliy - §523(a)(1), (14),(14A) priority tax claims                          01-Determination of removed claim or cause

 x 62-Dischargeability - §523(a)(2), false pretenses, false representation,            Other
           actual fraud                                                                     SS-SIPA Case – 15 U.S.C. §§78aaa et seq.

     67-Dischargeability - §523(a)(4), fraud as fiduciary, embezzlement,                    02-Other (e.g. other actions that would have been brought in state
        Larceny                                                                                court if unrelated to bankruptcy case)
                 (continued next column)

   Check if this case involves a substantive issue of state law                        Check if this is asserted to be a class action under FRCP 23
   Check if a jury trial is demanded in complaint                                  Demand: $20,517.70
 Other Relief Sought
            Case 1-21-40870-jmm           Doc 20-3       Filed 07/01/21       Entered 07/01/21 09:38:12



B1040 (FORM 1040) (12/15)

                      BANKRUPTCY CASE IN WHICH THIS ADVERSARY PROCEEDING ARISES
 NAME OF DEBTOR                                                     BANKRUPTCY CASE NO.
 Yekaterina Tumayeva                                                1-21-40870-jmm
 DISTRICT IN WHICH CASE IS PENDING                         DIVISIONAL OFFICE       NAME OF JUDGE
 Eastern, New York                                         Brooklyn                Jill Mazer-Marino

                                 RELATED ADVERSARY PROCEEDING (IF ANY)
 PLAINTIFF                    DEFENDANT                             ADVERSARY PROCEEDING NO.

 DISTRICT IN WHICH ADVERSARY IS PENDING                 DIVISIONAL OFFICE                NAME OF JUDGE

 SIGNATURE OF ATTORNEY (OR PLAINTIFF)

 /s/ Paul J. Hooten

 DATE:                                   PRINT NAME OF ATTORNEY (OR PLAINTIFF)
 July 1. 2021                            Paul J. Hooten

                                                     INSTRUCTIONS

       The filing of a bankruptcy case creates an “estate” under the jurisdiction of the bankruptcy court which consists of
all the property of the debtor, wherever that property is located. Because the bankruptcy estate is so extensive and the
jurisdiction of the court so broad, there may be lawsuits over the property or property rights of the estate. There also
may be lawsuits concerning the debtor’s discharge. If such a lawsuit is filed in a bankruptcy court, it is called an
adversary proceeding.

      A party filing an adversary proceeding must also complete and file Form 104, the Adversary Proceeding Cover
Sheet, unless the party files the adversary proceeding electronically through the court’s Case Management/Electronic
Case Filing system (CM/ECF). (CM/ECF captures the information on Form 104 as part of the filing process.) When
completed, the cover sheet summarizes basic information on the adversary proceeding. The clerk of court needs the
information to process the adversary proceeding and prepare required statistical reports on court activity.

       The cover sheet and the information contained on it do not replace or supplement the filing and service of
pleadings or other papers are required by law, the Bankruptcy Rules, or the local rules of court. The cover sheet, which
is largely self-explanatory, must be completed by the plaintiff’s attorney (or by the plaintiff in the plaintiff is not
represented by an attorney). A separate cover sheet must be submitted to the clerk for each complaint filed.

Plaintiffs and Defendants. Give the names of the plaintiffs and the defendants exactly as they appear on the complaint.

Attorneys. Give the names and addresses of the attorneys, if known.

Party. Check the most appropriate box in the first column for the plaintiffs and the second column for the
defendants.

Demand. Enter the dollar amount being demanded in the complaint.

Signature. This cover sheet must be signed by the attorney of record in the box on the second page of the form. If the
plaintiff is represented by a law firm, a member of the firm must sign. If the plaintiff is pro se, that is, not represented
by an attorney, the plaintiff must sign.
